






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-11-00268-CV





Trinity Riverchase, LP; Trinity Riverchase, GP, LLC; 

Trinity Riverchase Homes, LLC; Araceli Lopez; Emilio de la Cruz; 

Kerry S. Boykin; Candace Klockman; Emilio Narro; Matthew Williams; 

Sylvia Rogers; Stephen Rogers; Luis Munoz; Imelda Hernandez; 

Cherie Smith; Timothy Long; Rahea Reed; Misruthie Martinez; 

Roberto Martinez; Cynthia Lee; Ginger Yount; Wayne Scott; 

Marilyn Scott; Amador Perez; et al., Appellants


v.


Bastrop Appraisal Review Board; Bastrop County; Bastrop Independent School District;
Bastrop County Emergency Service District #2; et al., Appellees






FROM THE DISTRICT COURT OF BASTROP COUNTY, 335TH JUDICIAL DISTRICT

NO. 27,161, HONORABLE REVA TOWSLEE-CORBETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


PER CURIAM

	Counsel for Trinity Riverchase, LP; Trinity Riverchase, GP, LLC; Trinity Riverchase
Homes, LLC; Araceli Lopez; Emilio de la Cruz; Kerry S. Boykin; Candace Klockman; Emilio&nbsp;Narro;
Matthew Williams; Sylvia Rogers; Stephen Rogers; Luis Munoz; Imelda Hernandez; Cherie Smith;
Timothy Long; Rahea Reed; Misruthie Martinez; Roberto Martinez; Cynthia Lee; Ginger Yount;
Wayne Scott; Marilyn Scott; Amador Perez; et al., and counsel for appellees Bastrop Appraisal
Review Board; Bastrop County; Bastrop Independent School District; Bastrop County Emergency
Service District #2; et al. have filed a joint motion to abate this appeal, permitting them to effectuate
the parties' settlement agreement in the trial court.

	We grant the parties' motion and abate the appeal until February 6, 2012.  See Tex.&nbsp;R.
App. P. 42.1(a)(2)(C).  If the settlement has been finalized by that date, the parties are instructed
to&nbsp;file a motion to reinstate and dismiss the appeal in accordance with their settlement agreement.
If the parties have not finalized their settlement by that date, they are instructed to file a report
informing this Court about the status of the appeal and requesting an extension of the abatement.



Before Justices Puryear, Rose and Goodwin

Abated

Filed:   December 7, 2011


